      Case: 1:15-cv-00966 Document #: 121 Filed: 11/03/17 Page 1 of 9 PageID #:4297



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                     MDL No. 2545
 IN RE: TESTOSTERONE REPLACEMENT                     Master Docket Case No. 1:14-cv-01748
 THERAPY PRODUCTS LIABILITY LITIGATION               Honorable Matthew F. Kennelly
 This document applies to:
 Konrad v. AbbVie Inc., No. 1:15-cv-00966



             PLAINTIFF’S MEMORANDUM IN SUPPORT OF BILL OF COSTS

I.       INTRODUCTION

         Pursuant to 28 U.S.C. § 1920, Rule 54(d) of the Federal Rules of Civil Procedure and Local

Rule 54.1, Plaintiff Jeffrey Konrad respectfully submits this memorandum, together with the

accompanying Declaration of David R. Buchanan, Esq. (the “Buchanan Decl.”), in support of

Plaintiff’s Bill of Costs, submitted herewith. As stated in the Buchanan Declaration, these costs

are correct and were necessarily incurred in this action, and the services for which the fees have

been charged were actually and necessarily performed.

         On October 5, 2017, the Court entered judgment on Plaintiff’s claims for negligence,

intentional misrepresentation, and misrepresentation by concealment. (Konrad Dkt. No. 112.)

Plaintiff was awarded $140,000.00 in compensatory damages and $140,000,000.00 in punitive

damages. Id. As the prevailing party, Plaintiff is entitled to recover costs from Defendants. See

Weeks v. Samsung Heavy Indus. Co., Ltd., 126 F.3d 926, 945 (7th Cir. 1997).

II.      LEGAL STANDARD

         Under Rule 54(d)(1), a prevailing party should be granted costs, unless a federal statute,

the Federal Rules of Civil Procedure or a court order provide otherwise. Among the costs the Court

may tax are: “(1) Fees of the clerk and marshal; (2) Fees for printed or electronically recorded

                                                 1
   Case: 1:15-cv-00966 Document #: 121 Filed: 11/03/17 Page 2 of 9 PageID #:4298



transcripts necessarily obtained for use in the case; (3) Fees and disbursements for printing and

witnesses; [and] (4) Fees for exemplification and the costs of making copies of any materials where

the copies are necessarily obtained for use in the case….” 28 U.S.C. § 1920. The Seventh Circuit

recognizes “a presumption that the prevailing party will recover costs, and the losing party bears

the burden of an affirmative showing that taxed costs are not appropriate.” Beamon v. Marshall &

Ilsley Trust Co., 411 F.3d 854, 864 (7th Cir. 2005).

III.   DISCUSSION

       As set forth in the accompanying Bill of Costs and discussed in more detail below, Plaintiff

seeks (1) $400 for the filing fee of the complaint; (2) $104,991.70 for depositions and trial

transcripts (composed of $67,517.40 for depositions and $37,474.30 for trial transcripts); (3)

$3,832.00 for witness fees; and (4) $4,012.80 for copying costs of trial exhibits, for a total amount

of $113,236.50. See Buchanan Decl. Ex. A (Summary of Costs).

       A.      Fees of the Clerk - 28 U.S.C. § 1920(1)

       Plaintiff seeks recovery of the filing fee of the complaint, in the amount of $400. A copy

of the receipt for the filing fee is attached as Exhibit B to the Buchanan Declaration. Plaintiff is

not seeking amounts incurred in serving the complaint, deposition subpoenas or trial subpoenas.

       B.      Fees for printed or electronically recorded transcripts necessarily obtained for
               use in the case - 28 U.S.C. § 1920(2)

               (1)     Deposition Transcripts

       Plaintiff seeks $67,517.40 for costs associated with original deposition transcripts, copy

deposition transcripts and deposition video costs. See Buchanan Decl. Ex. A (Summary of Costs).

                       (a)     Original Deposition Transcripts

       The costs of deposition transcripts are recoverable if the depositions were “reasonably

necessary.” Cengr v. Fusibond Piping Systems, Inc., 135 F.3d 445, 455 (7th Cir. 1998). Plaintiff

                                                 2
   Case: 1:15-cv-00966 Document #: 121 Filed: 11/03/17 Page 3 of 9 PageID #:4299



seeks costs related to deposition transcripts of 16 witnesses that testified at trial, as these transcripts

were all reasonably necessary to prepare for direct and cross examinations. While there were other

depositions that were reasonably necessary for this case, Plaintiff recognizes that, for example, the

deposition transcripts used for opposing AbbVie’s summary judgment motions were used in a

context involving multiple bellwether plaintiffs in this MDL. As set out in the Buchanan

Declaration, Plaintiff seeks costs for the following deposition transcripts:

             1. James Hynd;*
             2. Michael Miller;*
             3. Linda Scarazzini;*
             4. Steven Wojtanowski;*
             5. Janet Arrowsmith;*
             6. William French;*
             7. Mohit Khera;*
             8. Laurentius Marais;*
             9. Hossein Ardehali;*
             10. David Kessler;*
             11. Peggy Pence;*
             12. Jeffrey Konrad;
             13. Phillip Cuculich;
             14. Steven Todd Overby;
             15. Jennifer Morrow; and
             16. Jennifer Fields.

        Copies of the invoices for these deposition transcripts are attached as Exhibit C to the

Buchanan Declaration. Certain deposition costs for witnesses noted with an asterisk (*) were also

requested by the prevailing plaintiff in the first bellwether trial in this MDL to reach a jury verdict,

Mitchell v. AbbVie Inc., No. 1:14-cv-09178. As discussed further in the Buchanan Declaration,

Mr. Konrad is not seeking reimbursement of original transcript costs, transcript copy costs, video

costs or attendance fees to the extent that those deposition costs for these witnesses are awarded

to Mr. Mitchell. However, Mr. Konrad is seeking attendance fees and other costs associated with

trial testimony for certain of these witnesses (Drs. Ardehali, Kessler and Pence, who all testified

at both the Mitchell and Konrad trials). Attached as Exhibit D to the Buchanan Declaration is a

                                                    3
   Case: 1:15-cv-00966 Document #: 121 Filed: 11/03/17 Page 4 of 9 PageID #:4300



revised summary of costs requested by Mr. Konrad in the event such deposition costs are awarded

to Mr. Mitchell.

       Local Rule 54.1(b) limits deposition transcript costs to the then-prevailing rate that the

costs of the transcript or deposition shall not exceed the regular copy rate as established by the

Judicial Conference of the United States and in effect at the time the transcript or deposition was

filed. See N.D. Ill. L.R. 54.1(b). During the time discovery was taken in this case, that amount was

$3.65 per page for the original transcript at the ordinary delivery schedule (30-Day) and $6.05 per

page for the original transcript at the daily delivery schedule. See id.; see also N.D. Ill. General

Order 12-0003 (January 26, 2012).

       Additionally, court reporter appearance fees may be awarded in addition to the per-page

limit, but the fees shall not exceed the published rates on the Court website unless another rate was

previously provided by order of court. See L.R. 54.1. Court reporter appearance fees may be

awarded in addition to the per-page limit, but the fees shall not exceed $110 for one half day (4

hours or less), and $220 for a full day attendance fee. See Piotrowski v. Menard, Inc., No. 13 C

5572, 2016 WL 7157353, at *2 n.1 (N.D. Ill. Dec. 8, 2016). The attendance fee by the court

reporter engaged by Plaintiff was $95 per day, which falls below the Court’s limit.

       However, Plaintiff seeks higher as-billed amounts for six depositions arranged by

Defendants. See Intercontinental Great Brands LLC v. Kellogg N.A. Co., No. 13 C 321, 2016 WL

316865, at *3 (N.D. Ill. Jan. 26, 2016) (Kennelly, J.) (taxing “the full cost of the deposition

transcripts for the depositions that IGB arranged”). Specifically, of the depositions that AbbVie

noticed, Plaintiff seeks the full cost of the deposition transcript for six witnesses, composed of four

of his experts (Drs. Ardehali, Kessler, Pence and Cuculich), his treating doctor (Dr. Morrow), and

his own deposition.



                                                  4
   Case: 1:15-cv-00966 Document #: 121 Filed: 11/03/17 Page 5 of 9 PageID #:4301



       With respect to Plaintiff’s depositions of his prescribing doctor (Dr. Overby) and

Defendants’ experts and employees, no recovery is sought beyond that permitted by N.D. Ill. L.R.

54.1. Plaintiff is not seeking recovery for extra deposition expenses such as Realtime, exhibit

scanning, rough drafts, or shipping and handling.

                       (b)     Deposition Transcript Copies

       Plaintiff seeks costs for copies of deposition transcripts for four expert witnesses, Drs.

Arrowsmith, French, Marais, and Kessler. These copies are permitted by N.D. Ill. L.R. 54.1, which

provides that “the cost of the original of such transcript or deposition together with the cost of one

copy each where needed by counsel….” N.D. Ill. L.R. 54.1. The Judicial Conference of the United

States has set the per-page rate for daily transcript copies at $1.20 per page. See N.D. Ill. General

Order 12-0003 (January 26, 2012). These copies were necessary to accommodate the coordination

of co-counsel and the taking and defending of depositions of experts prior to the expiration of the

expert discovery deadline.

                       (c)     Video Costs

       None of the expert depositions were videotaped, and Plaintiff only seeks video costs for

the deposition of three witness, James Hynd, Steven Overby and Jennifer Fields, which were the

only video depositions played by Plaintiff at trial. See Trial Tr. at 690:11, 1855:6, 1931:16;

Buchanan Decl. Ex. A at 2 & Ex. C.

               (2)     Trial Transcripts

               Plaintiff seeks $37,474.30 for 14 days of trial transcripts, including the Realtime

feed and daily delivery, which were necessary for the prosecution of this complex bellwether trial.

See Buchanan Decl. Ex. E. Such costs are properly recoverable. See N.D. Ill. L.R. 54.1.




                                                  5
      Case: 1:15-cv-00966 Document #: 121 Filed: 11/03/17 Page 6 of 9 PageID #:4302



         C.     Fees and disbursements for printing and witnesses - 28 U.S.C. § 1920(3)

         Plaintiff seeks the attendance fee for witnesses that he called live and were not employees

of the Defendants. Specifically, Plaintiff seeks costs for per diem attendance fees (at $40 per day),

lodging (at $212 per day) and subsistence (at $74 per day) in the amount of $3,832.00 for Drs.

Ardehali, Kessler, Pence, and Cuculich for those days on which trial testimony was actually given

or when testifying at a deposition. See Buchanan Decl. Ex. A at 2, 3 (Summary of Costs). The

attendance fee has been calculated at $40.00 per day, pursuant to 28 U.S.C. § 1821(b). Plaintiff

also seeks per diem subsistence costs for lodging, meals and incidentals for these witnesses,

pursuant to 28 U.S.C. § 1821(c)(4), (d). See Buchanan Decl. ¶¶ 11-17. These amounts were

calculated for witnesses who live too far to be expected to travel, on a daily basis, to and from their

residence while in attendance at the deposition or trial, using the per diem allowance prescribed

by the Administrator of General Services, pursuant to 5 U.S.C. § 5702(a), for official travel in the

area of attendance by employees of the Federal Government. See Buchanan Decl. ¶¶ 11-17 & Ex.

F.

         D.     Fees for exemplification and copies of papers necessarily obtained for use in
                the case - 28 U.S.C. § 1920(4)

         Plaintiff seeks costs in the amount of $4,012.80 for copies of trial exhibits for the Konrad

trial. Plaintiff made four copies of all documents admitted into evidence (totaling 9,120 pages at

$0.11 per page). One copy was for counsel’s use at trial with a witness, a second copy was for

opposing counsel, the third copy was for the witness, and the final copy was for the jury in the

event required during deliberations. See Buchanan Decl. ¶¶18-20 & Ex. G.

IV.      CONCLUSION

         For the foregoing reasons, this Court should tax Defendants with the costs enumerated in

Plaintiff’s Bill of Costs.

                                                  6
  Case: 1:15-cv-00966 Document #: 121 Filed: 11/03/17 Page 7 of 9 PageID #:4303



Dated: November 3, 2017              Respectfully submitted,

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                                        7
Case: 1:15-cv-00966 Document #: 121 Filed: 11/03/17 Page 8 of 9 PageID #:4304




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                                     8
   Case: 1:15-cv-00966 Document #: 121 Filed: 11/03/17 Page 9 of 9 PageID #:4305



                                      CERTIFICATE OF SERVICE

       I hereby certify that on November 3, 2017, I electronically transmitted the foregoing

document to the Clerk of the United States District Court using the CM/ECF system for filing and

service to all parties/counsel registered to received copies in this case.


                                               /s/ David R. Buchanan
                                                              David R. Buchanan




                                                  9
